






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00169-CV






Tyrone Rasberry and Brenda Rasberry, Appellants


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-FM-10-000506, HONORABLE RHONDA HURLEY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Appellants' briefs were due in this Court on October 3, 2011.  On November 16,
2011, this Court sent notice to Tyrone Rasberry's counsel, Robert Galvin, and Brenda Rasberry's
counsel, John M. Sigman, that their briefs were overdue and that if we did not receive from counsel
a satisfactory response to this notice on or before November 28, 2011, a hearing before the
district&nbsp;court would be ordered.  As of this date, counsel have not filed briefs or responded to this
Court's notice. 

		The appeal is abated.  The district court shall conduct a hearing to determine whether
Tyrone Rasberry or Brenda Rasberry desire to prosecute this appeal and whether appointed counsel
have abandoned the appeal.  See Tex. R. App. P. 38.8(b)(2); see also In re T.V., 8 S.W.3d 448,
449-50 (Tex. App.--Waco 1999, no pet.) (applying Rule 38.8(b) to suit involving termination of
parental rights).  The court shall make appropriate findings and recommendations.  A record from
this hearing, including copies of all findings and orders and a transcription of the court reporter's
notes, shall be forwarded to the clerk of this Court for filing as a supplemental record no later than
February 23, 2012.  See Tex. R. App. P. 38.8(b)(3).



Before Chief Justice Jones, Justices Pemberton and Rose

Abated

Filed:   January 25, 2012


